        Case 2:21-cv-04569-JAK-KS                     Document 48 Filed 10/12/23                      Page 1 of 14 Page ID
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                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
  9
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                                                          Plaintiff     ~~ -c~~.-.- 0~- K~~ g
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        CV-127 (09/09)                       PLEADING PAGE FOR A SUBSEQUENT DOCUMENT
           Case 2:21-cv-04569-JAK-KS                       Document 48 Filed 10/12/23                            Page 2 of 14 Page ID
                                                                  #:356
                                                                                                                                       OMB No. 1545-0150
Form 2848
                                                      Power of Attorney                                                                 For IRS Use Ony
(Rev. January 2021)                           and Declaration of Representative                                                       Received by:
 Department of the Treasury        4
 Internal Revenue Service           ► Go to www.irs.gov/Form2848 for instructions and the latest information.                        Name
                Power of Attorney                                                                                                    Telephone
             Caution: A separate Form 2848 must be completed for each taxpayer. Form 2848 will not be honored                        Function
             for any purpose other than representation before the IRS.                                                                  /
                                                                                                                                     Date    /
  1    Taxpayer information. Taxpayer must sign and date this form on page 2, line 7.
Taxpayer name and address                                                         Taxpayer identification numbers)
BANDELE TRUST dated Apri14,2016                                                       XX-XXXXXXX
                                                                                  Daytime telephone number         Plan number (if applicable)
1014 S Westlake Blvd 14-318
Westlake Village CA.91361                                                                                                          - --
hereby appoints the following representatives) as attorneys)-in-tact:
  2    Representatives) must sign and date this form on page 2, Part II.
Name and address                                                                          CAF No.
                                                                                                    ------------------------------------------------
huges,melvin louis                                                                        PTIN
                                                                                                ----------------------------------------------------
                                                                                                                        323 787 3854
                                                                                          Telephone No. -----------------------------
1014 SWestlake Blvd. 14-318                                                                                                              -----------
Westlake Village CA 91362                                                                 Fax No.
                                                                                                    ------------------------------------------------
Check if to be sent copies of notices and communications           ❑           Check if new: Address ❑         Telephone No. ❑                 Fax No. ❑
Name and address                                                                          CAF No.
                                                                                                   ------------------------------------------------
                                                                                          PTIN ----------------------------------------------------
                                                                                          Telephone No. ----------------------------------------
                                                                                          Fax No. ------------------------------------------------
Check ff to be sent copies of notices and communications            ❑          Check if new: Address ❑         Telephone No. ❑                Fax No. ❑
Name and address                                                                          CAF No.
                                                                                                   -----------------------------------------------
                                                                                          PTIN ----------------------------------------------------
                                                                                          Telephone No. ----------------------------------------
                                                                                          Fax No. ------------------------------------------------
(Note: IRS sends notices and communications to only two representatives.)      Check if new: Address ❑        Telephone No. ❑                Fax No. ❑
 Name and address                                                                         CAF No. ------------------------------------------------
                                                                                          PTIN ----------------------------------------------------
                                                                                          Telephone No. ----------------------------------------
                                                                                          Fax No. ------------------------------------------------
                                                                               Check if new: Address ❑        Telephone No. ❑                Fax No. ❑
(Note: IRS sends notices and communications to only two representatives.)
 to represent the taxpayer before the Internal Revenue Service and perform the following acts:
    3    Acts authorized (you are required to complete line 3). Except for the acts described in line 5b, I authorize my representatives) to receive and
                                                                                                                                                        my
         inspect my confidential tax information and to perform acts I can perform with respect to the tax matters described below. For example,
                                                                                                documents   (see instructions for line 5a for authorizing a
         representatives) shall have the authority to sign any agreements, consents, or similar
         representative to sign a return).
  Description of Matter(Income, Employment, Payroll, Excise, Estate, Gift,            Tax Form Number                    Years) or Periods)(if applicable)
    Whistleblowpr, Practitioner Discipline, PLR, FOIA, Civil Penalty, Sec.     0040, 941,720, etc.) (if applicable)            (see instructions)
       4980H Shared Responsibility Payment, etc.)(see instructions)


 Estate




                                                                                                                                           recorded on
    4     Specific use not recorded on the Centralized Authorization File (CAFl. If the power of attorney is for a specific use not
                                                          Not Recorded   on  CAF  in the instructions                                                 ► ❑
          CAF, check this box. See Line 4. Specific Use
                                                                                                                         perform the following acts (see
    5a    Additional acts authorized. In addition to the acts listed on line 3 above, I authorize my representatives) to
          instructions for line 5a for more information): ~ Access my IRS records via an Intermediate Service Provider;
          ~ Authorize disclosure to third parties;        ~ Substitute or add representative(s);      ~ Sign a return;




          ❑ Other acts authorized:


                                                                                                   Cat. No. 11980)                   Form 2848(Rev. 1-2020
 For Privacy Act and Paperwork Reduction Act Notice, see the instructions.
          Case 2:21-cv-04569-JAK-KS                                  Document 48 Filed 10/12/23                                  Page 3 of 14 Page ID
                                                                            #:357
Form 2848(Rev. 1-2021)                                                                                                                                                      Page 2

         Specific acts not authorized. My representatives) is (are) not authorized to endorse or otherwise negotiate any check (including directing or
         accepting payment by any means, electronic or otherwise, into an account owned or controlled by the representatives) or any firm or other
         entity with whom the representatives) is (are) associated issued by the government in respect of a federal tax liability.
         List any other specific deletions to the acts otherwise authorized in this power of attorney (see instructions for line 5b):


  6      Retention/revocation of prior powers) of attorney. The filing of this power of attorney automatically revokes all earlier powers) of
         attorney on file with the Internal Revenue Service for the same matters and years or periods covered by this form. If you do not want to
         revoke a prior power of attorney, check here                                                                                         ► ❑
         YOU MUST ATTACH A COPY OF ANY POWER OF ATTORNEY YOU WANT TO REMAIN IN EFFECT.
   7     Taxpayer declaration and signature. If a tax matter concerns a year in which a joint return was filed, each spouse must file a separate power
         of attorney even if they are appointing the same representative(s). If signed by a corporate officer, partner, guardian, tax matters partner,
         partnership representative (or designated individual, if applicable), executor, receiver, administrator, trustee, or individual other than the
         taxpayer, I certify I have the legal authority to execute this form on behalf of the taxpayer.
         ► IF NOT COMPLETED, SIGNED, AND DATED, THE IRS WILL RETURN THIS POWER OF ATTORNEY TO THE TAXPAYER.

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--------------------cJ---t-~e~~n
                    Uq'e~           ~c~ui4
                            ----------------------------------- ---------
                                                                                  10/11/2023
                                                                              ------------------------    ----------------
                                                                                                                             Trustee
                                                                                                                                       --------------------------------
                                                                                                                                    Title (if applicable)
                             Signature                                                 Date


                      huges, melvin louis                                      10/11/2023
---------------------------------------------------------------------------   -----------------------------------------------------------------------------------------------------
                               Print name                                                      Print name of taxpayer from line 1 if other than individual
                Declaration of Representative
 Under penalties of perjury, by my signature below I declare that:
• I am not currently suspended or disbarred from practice, or ineligible for practice, before the Internal Revenue Service;
• I am subject to regulations in Circular 230 (31 CFR, Subtitle A, Part 10), as amended, governing practice before the Internal Revenue Service;
• I am authorized to represent the taxpayer identified in Part I for the matters) specified there; and
• I am one of the following:
   a Attorney-a member in good standing of the bar of the highest court of the jurisdiction shown below.
   b Certified Public Accountant-a holder of an active license to practice as a certified public accountant in the jurisdiction shown below.
   c Enrolled Agent-enrolled as an agent by the IRS per the requirements of Circular 230.
 d Officer-a bona fide officer of the taxpayer organization.
 e Full-Time Employee-a full-time employee of the taxpayer.
 f Family Member-a member of the taxpayer's immediate family (spouse, parent, child, grandparent, grandchild, step-parent, step-child, brother, or sister).
 g Enrolled Actuary-enrolled as an actuary by the Joint Board for the Enrollment of Actuaries under 29 U.S.C. 1242 (the authority to practice before
    the IRS is limited by section 10.3(d) of Circular 230).
 h Unenrolled Return Preparer-Authority to practice before the IRS is limited. An unenrolled return preparer may represent, provided the preparer (1)
    prepared and signed the return or claim for refund (or prepared if there is no signature space on the form); (2) was eligible to sign the return or
    claim for refund; (3) has a valid PTIN; and (4) possesses the required Annual Filing Season Program Record of Completion(s). See Special Rules
    and Requirements for Unenrolled Return Preparers in the instructions for additional information.
                                                                                                                                                        or
 k Qualifying Student or Law Graduate-receives permission to represent taxpayers before the IRS by virtue of his/her status as a law, business,
    accounting student, or law graduate working in a LITC or STCP. See instructions for Part II for additional information and requirements.
                                                                                                                                               before the
 r Enrolled Retirement Plan Agent -enrolled as a retirement plan agent under the requirements of Circular 230 (the authority to practice
    Internal Revenue Service is   limited by section 10.3(e)).
   ► IF THIS DECLARATION OF REPRESENTATIVE IS NOT COMPLETED, SIGNED, AND DATED, THE IRS WILL RETURN THE
    POWER OF ATTORNEY. REPRESENTATIVES MUST SIGN IN THE ORDER LISTED IN PART I, LINE 2.
Note: For designations d—f, enter your title, position, or relationship to the taxpayer in the "Licensing jurisdiction" column.
                       Licensing jurisdiction       Bar, license, certification,
   Designation—
    Insert above          lState) or other          registration, or enrollment                                      Signature                                            Date
                        licensing authority           number (if applicable)
     letter (ter).
                           (if applicable)

                                                                                                                            i
                             California                  Attorney In Fact                                      u e~,r/Je ~n 16u1~                                    10111/2023
          d




                                                                                                                                                          Form 2~8 (Rev. 1-2021)
Case 2:21-cv-04569-JAK-KS                      Document 48 Filed 10/12/23                           Page 4 of 14 Page ID
                                                      #:358




MEMORANDUM

To: Hon.Patricia Guerrero

From: huges,me[vin louis Attorney in Fact of

Bandele Trust dated: April 4,2Q16

Subject. Nation fQr a Stay (3rder

C am ~r~it~ng to request a stay order under Code of Civil Procedure section 404.5, which
is necessar}r and appropriate to effectuate the purpe~ses of cQordinatian in the state of
Ga(ifornia. The attachment to this motion are the faeis refied Qn to support this motion:

    1. There are known pending related cases that need to be coordinated.
    2. Case number 17-cv-04569 case number 21-cv-(145E~9
    3. The coordination of these cases is complex and involves common questions of
       fact of law.

Based on the ak~ove facts, { respectfu(iy request that a stay order be issued to suspend
all proceedings in the action to whicF► it appfies. Thank you for your attention to this
matter.

Sincerely.
                            r                                     ,      I-            .
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huges,mefvin (Dais Attaney In Fact

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The address to the Chair of the Judicial Council in the state of California is as follows:

JudiciaE Go~ncil of C~[ifornia
                                                                                                   comp~etinp Nis certR~cate venMs only iM
455 Golden Gate Avenue                                            A rwUry pupYc or oMror oM~ce~
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                                                                  State of California. County of C~
San Francisco, CA 94102-3688                                      Subscribed and sworn to (or aK~ed)
                                                                                                     before me on this f'2 daY

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                                   COMM. #2410714 z
                                  Notary Public •California ~                                                             ~~                           ~
                  ~ €o- ~
                  z ~«              Los Angeles County        ~
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10/9/23, 1:34 PM
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            Case 2:21-cv-04569-JAK-KS        48 Filed 10/12/23 Page 5 of 14 Page ID
                                                          Gmail -Appointment for this Friday 09!24/2021 10am.




             +~m~i~                                                                          Bandele EL <soyoungevity@gmail.com~



  Appointment for this Friday 09/24/2021 10am.
  Bandele EL <soyoungevity@gmail.com>                                                  A.P                      Fri, Sep 24, 2021 at 1:45 PM
  To: Alexander Kathleen L <Kathleen.Alexander@ci.irs.gov>              ~y r~ /~+r~~~.~. ~~r                              r
                                                                                                          b eCoYn~,~~ v►war~
    Hi,Mrs. Katheen,
    For any present or future correspondence I kindly 'ask that you please address me in my. proper name:
    melvin louis huges. social security no. 433 29 5877 ein.no.XX-XXXXXXX                                                     '
    state and city I was born shreveport, louisiana..

    physical address:                                                                               ~               ~                 .
    melvin louis huges                                                                                                                         '
    c/o 1014 south Westlake # 14-318
    Westlake vllage, CA 91361
    Thanks in advance
    [(~uured text hidden]




https://mail.google.com/mail/u/0!?ik=2501431ca1&view=pt8search=all&permmsgid=msg-a:r-13615650737460257738~simpl=msg-a:r-46156507374602...   1/1
           Case 2:21-cv-04569-JAK-KS                     Document 48            Filed 10/12/23           Page 6 of 14 Page ID
10/10/23, 2:12 PM .                                                  #:360
                                                      Gmail - RE:[EXT]Re:[EXT]pick up private property-an envelope            n




           ~m~ail                                                                            Bandele EL <soyoungevity@gmail.com>



  RE:[EXT]Re:[EXT]pick up private property-an envelope
  2 messages

  Alexander Kathleen L <Kathleen.Alexander@ci.irs.gov>                            ,a.~'~.tp-Mon, Nov 21, 2022 at 4:07 PM
  To: "soyoungevity@gmail.com" <soyoungevity@gmail.com>                           ~ ~,.; ~ e
  Cc: Alexander Kathleen L <Kathleen.Alexander@ci.irs.gov>, Nathaniel Kim <Kim.Nafh'a~el~a ci.irs.gov>


    Hi Mr. Hughes,


    Just to clarify, you are confirming for tomorrow, November 22, 2022 at 10am. Is that correct?



    The office address is:

    501 W. Ocean Blvd, #6470

    Long Beach, CA 90802
                                                    ~~
                                                  ~ „~1i,-~' IUl~
                                               ~~~~~
    Thank you,

    Kathy Alexander

    Special Agent

    IRS-Criminal Investigation

    SE:C I:WA:LA:14

    Long Beach POD

    562-951-6955

    562-951-6900 Fax




             From: Bandele EL <soyaungeviry@gmail.com>
             Sent: Monday, November 21, 2022 1:52 PM
             To: Alexander Kathleen L <Kathleen.Alexander@ci.irs.gov>
             Subject:[EXT]Re:[EXT]pick up private property



              Hi, Ms. Kathleen,

              We're confirmed for 10 am 11/21/2022

              Thank you.



              On Mon, Nov 21, 2022 at 3:18 PM Alexander Kathleen L <Kathleen.Alexander@ci.irs.gov> wrote:

                 Good afternoon Mr. Hughes,


https://mail.google.com/maillu/0/?ik=2501431 ca18~view=pt&search=all8permthid=thread-f:1750145099427919186&simpl=msg-f:17501450994279191...   1/2
10/10/23, 2:12 PM
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                                                                                ( 10/12/23 Page 7 of 14 Page ID
                                                        Gmail RE:[EXT]Re:[EXT]pick up private property-an envelope
                                                             -



                    Thank you for your email. If you are referring to the envelope that I have been attempting to return to you, we
                    can arrange a day and time. As mentioned, I will need your original signature.



                    For this week, tomorrow (November 22, 2022)at 10am will work. If you are not able to come tomorrow, next
                    week, Monday, November 28, 2022 at 10am works.



                    Please let me know.



                    Thank you,

                    Kathy Alexander

                 Special Agent

                    RS-Criminal Investigation

                    SE:CI:WA:LA:14

                    Long Beach POD

                    562-951-6955

                    562-951-6900 Fax




                            From: Bandele EL <soyaungevity@gmail.com>
                            Sent: Sunday, November 20, 2022 12:26 PM
                            To: Alexander Kathleen L <Kathleen.Alexander@ci.irs.gov>
                            Subject:[EXT]pick up private property



                             Hi Ms. Kathy,

                             I'm writing to schedule the pick up of private property at your earliest convenience.

                            thanks in advance


  Alexander Kathleen L <Kathleen.Alexander@ci.irs.gov>                            a~~-~,?" Mon, Nov 28, 2022 at 3:26 PM
  To: "soyoungevity@gmail.com" <soyoungevity   @gmail.com>                         n p.~.~~ ~
  Cc: Nathaniel Kim <Kim.Nathaniel @ci.irs.gov>, Alexander Kathleen L <Kathleen.Alex ander ci.irs.gov>


     Good afternoon Mr. Hughes,              ~ n ~- en                                        ,~'J

                                              j rl •~-= i~Y' Yf' ~~1 J Y~
                                                                                                 more form for signature.
     Thank you for coming to retrieve the envelope last Tuesday, November 22, 2022. There is one
     Would you please sign it and send  it back to me?

     [Quoted text htdaenJ


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       Case 2:21-cv-04569-JAK-KS
              ~~~~~~~ Document#:362   48 Filed 10/12/23 Page 8 of 14 Page ID
           Department of the Treasury             Date:
           Internal Revenue Service                                   Os/~9~2022

ID ~
 Iti~
           Criminal Investigation
           Los Angeles Field Office
           501 W. Ocean Blvd., #6470
           Long Beach, CA 90802
                                                                      Person to contact:
                                                                      Kathleen Alexander
                                                                      Kathleen.Alexander@ci.irs.gov
          Melvin Hughes                                               Employee ID number:
          23301 W. Pompano St                                         1000127707
          Malibu, CA 90265                                            Contact telephone number:
                                                                     (562)951-6955


                             Appointment Needed to Return an Envelope ofItems

Dear Melvin Hughes:
The purpose ofthis letter is to attempt to return an envelope of items that was located at the Pompano
residence. Returning these items will need to be done in person and requires an original signature.
Please call or email the above individual to arrange a time to pick up the envelope from the Long Beach
Federal Building:

Glenn Anderson Federal Building
501 West Ocean Boulevard
Long Beach, CA 90802
What you need to do:
Please call or email the individual listed above to confirm the appointment.


Thank you for your cooperation.


                                                                    Sincerely,

                                                                    Kathleen Alexander
                                                                    Special Agent




                                                                                         Letter 6014(12-2017)
                                                                                         Catalog Number 70982X
  Case 2:21-cv-04569-JAK-KS          Document 48 Filed 10/12/23             Page 9 of 14 Page ID
                                            #:363                                    ~.
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                                  QEPARTNlENT OF THE TREASURY
                                      lNTEKNAL REVENt1E SEEZYiCE
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    Crimirt:i Investigation            August 8, 223

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    -~-r~ f'~r~~(a~ `~
   Me(vin Hughes 4,r'~'~~ no~"~ e~
   23301 iN. Pompano Street
   Matibu, CA 91710


   In RE: Forfeited Property

   Dear Mr Hughes

The property located at ~33~1 West Pompano Street in Malibu, California was forfeited to
the United States on Jufp 13, 2423 in rase number 17-cv-f~45fi8, United States of
America v, Rea! Property vacated in Mali~su, Calt~orr~ia, files! in the United States I}istrict
Court for the Centres District of Catifomia. A copy of the Default 3udgEnent of ForFeit~re is
attached far your reference.

Please ca(I me of(657} 247-3388 sc~ w~ can discuss a r~solutian to the disposition of this
property,

                                                 Sinc~erety,


                                                   ~....r!

                                                  BiYc~Cl S~f6~t
                                                  Speaal Agent -Asset Forfeiture Coordinator
                                                  IRS -Criminal investigation
                                                  Los Angeiss Ffeid Office

       Enclosure: Qefau[t Judgeme~tt of Far€eiture. fled July 13, 2023
10/9123, 1:34 PM
                   -~X-~t I ~5( I ~ Document#:364
           Case 2:21-cv-04569-JAK-KS         48 Filed 10/12/23 Page 10 of 14 Page ID
                                                           Gmail -Appointment for this Friday 09/24/2021 10am.




            email                                                                             Sandele EL <soyoungevity@gmail.cam>



  Appointment for this Friday 09/24/2021 10am.
  Bandele EL <soyoungevity@gmail.com>                                               A.P~                         Fri, Sep 24, 2021 at 1:45 PM
  To: Alexander Kathleen L <Kathleen.Alexander@ci.irs.gov>              ~jr~ J~v}~C~   ~r                                  r
                                                                                                           b eCorr~~►~'~ o►war~,
    Hi,Mrs. Katheen,
    For any present or future correspondence I kindly ask that you please address me in my. proper name:
    melvin louis huges. social security no. 433 29 5877 ein.no.XX-XXXXXXX
    state and city I was born shreveport, louisiana..

    physical address:
    melvin louis huges
    clo 1014 south Westlake # 14-318
    Westlake vllage, CA 91361
    Thanks in advance
    [(quoted Text hidden]




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https://mail.google.com/mail/u!0/?ik=2501431ca 18view=pt8~search=all&permmsgid=msg-a:r-461
           Case 2:21-cv-04569-JAK-KS                    Document 48 Filed 10/12/23 Page 11 of 14 Page ID
10/10!23, 2:12 PM
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                ►mail                                                                         Bandele EL <soyoungevity@gmail.com>



  RE: [EXT]Re: [EXT]pick up private property-an envelope
  2 messages

  Alexander Kathleen L <Kathleen.Alexander@ci.irs.gov>                           ~.~'a.,Lp-Mon, Nov 21, 2022 at 4:07 PM
  To: "soyoungevity@gmail.com" <soyoungevity@gmaii.com>                          ~
  Cc: Alexander Kathleen L <Kathleen.Alexander@ci.irs.gov>, Nathaniel Kim <Kim.Nafh'a~el a c~sgov>


    Hi Mr. Hughes,


     Just to clarify, you are confirming for tomorrow, November 22, 2022 at 10am. Is that correct?



     The office address is:

     501 W. Ocean Blvd, #6470

     Long Beach, CA 908Q2

                                                      r~ }                ~ ~~
                                                     ~~ Q ~
     Thank you,

     Kathy Alexander

     Special Agent

     IRS-Criminal Investigation

     SE:CI:WA:LA:14

     Long Beach POD

     562-951-6955

     562-951-6900 Fax




               From: Bandele EL <soyoungevity@gmai(.com>
               Sent: Monday, November 21, 2022 1:52 PM
               To: Alexander Kathleen L <Kathleen.Alexander@ci.irs.gov>
               Subject: [EXTJRe: [EXT]pick up private property



               Hi, Ms. Kathleen,

               We're confirmed for 10 am 11/21/2022

               Thank you.



               On Mon, Nov 21, 2022 at 3:18 PM Alexander Kathleen L <Kathleen.Alexander@ci.irs.gov> wrote:

                    Good afternoon Mr. Hughes,

                                                                                                                          7501450994279191...   1/2
 https:(/mail.google.com/mail/u/0/?ik=2501431ca18~view=pt8~search=all&permthid=thread-f:1750145099427919186~simpl=msg-f:1
            Case 2:21-cv-04569-JAK-KS                      Document 48 Filed 10/12/23 Page 12 of 14 Page ID
10/10/23, 2:12 PM                      -                                 #:366
                                                         Gmail - RE:[EXT]Re:[EXT]pick up private property-an envelope



                    Thank you for your email. If you are referring to the envelope that I have been attempting to return to you, we
                    can arrange a day and time. As mentioned, I will need your original signature.



                    For this week, tomorrow (November 22, 2022)at 10am will work. If you are not able to come tomorrow, next
                    week, Monday, November 28, 2022 at 10am works.



                    Please let me know.



                    Thank you,

                    Kathy Alexander

                    Special Agent

                    RS-Criminal Investigation

                    SE:CI:WA:LA:14

                    Long Beach POD

                    562-951-6955

                    562-951-6900 Fax




                             From: Bandele EL <soyoungevity@gmail.com>
                             Sent: Sunday, November 20, 2022 12:26 PM
                             To: Alexander Kathleen L <Kathieen.Alexander@ci.irs.gov>
                             Subject:[EXT]pick up private property



                             Hi Ms. Kathy,

                             I'm writing to schedule the pick up of private property at your earliest convenience.

                             thanks in advance

                                                                                   a,~~-~1" Mon, Nov 28, 2022 at 3:26 PM
   Alexander Kathleen L <Kathleen.Alexander@ci.irs.gov>
   To: "soyoungevity@gmail.com"   <soyoungevi  ty@gmail.co m>                       n p.~.~~ ~
                     <Kim.Nathani el@ci.irs.gov>, Alexander Kathleen L <Kathleen.Alexander ci.irs.gov>
   Cc: Nathaniel Kim

                                                                                m 1 ~' r ~J~~'~ 5e n#v► "~'~ J ~
                                                                                                                           l7 ~ -~-~
     Good afternoon Mr. Hughes,              ~ p '~ ~~'1 ~~ ~ ~ ~`~

                                              ~ rl -~-- vY' 1'~ ~'~ j f~ n
                                                                                     There is one more form for signature.
      Thank you for coming to retrieve the envelope last Tuesday, November 22, 2022.
      Would you please sign it and send it back to me?

      [Quoted text hidden]


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      Case 2:21-cv-04569-JAK-KS 48 Filed 10/12/23 Page 13 of 14 Page ID
          Department of the Treasury                                  Date:
          Internal Revenue Service                                    08/19/2022

I1D~~
    C     Criminal Investigation
          Los Angeles Field Office
          501 W. Ocean Blvd., #6470
          Long Beach, CA 90802
                                                                      Person to contact:
                                                                      Kathleen Alexander
                                                                      Kathleen.Alexander@ci.irs.gov
          Melvin Hughes                                               Employee ID number:
          23301 W.Pompano St                                          1000127707
          Malibu, CA 90265                                            Contact telephone number:
                                                                     (562) 951-6955


                             Appointment Needed to Return an Envelope ofItems

Dear Melvin Hughes:
The purpose ofthis letter is to attempt to return an envelope of items that was located at the Pompano
residence. Returning these items will need to be done in person and requires an original signature.
Please call or email the above individual to arrange a time to pick up the envelope from the Long Beach
Federal Building:

Glenn Anderson Federal Building
501 West Ocean Boulevard
Long Beach, CA 90802
What you need to do:
Please call or email the individual listed above to confirm the appointment.


Thank you for your cooperation.


                                                                    Sincerely,

                                                                    Kathleen Alexander
                                                                    Special Agent




                                                                                         Letter 6014(12-2017)
                                                                                         Catalog Number 70982X
~~~~~T~ ~
     Case 2:21-cv-04569-JAK-KS               Document 48 Filed 10/12/23
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              ~-                                  INTERNAL REVENUE SER~tiC£
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      Melvin Hughes !~ ~'~''~r n o'~" a e~
      23301 W. Pompano Street
      Matibu, CA 917"E0


      In RE: Forteited Property

      Dear Mr Hughes

   The property located at X3301 West Pompano Street in Malibu, California was forfeited to
   the United States on July 13, 2423 ~n c~sg number 17-cv-44589, United States of
   Amertca v, Rea! Property Located in Ma[ib~u, California, filed in the United States District
   Court for the Centre( District of Cat~fomia. A cagy of the C3efauft .lodgment of Forfeiture is
   attached for your reference.

   Please cafi me at(657} 247.33 8 sr~ we can discuss ~ r~solutian to the disposition of this
   proRertY,
                                                             Sincerely,

                                                               ~~               ~i

                                                              Bryan StareK
                                                              Sp~aai Agent -Asset Forfeiture Coordinator
                                                              1RS -Criminal Investigation
                                                              Los Angeles Field C7~ce

            Enclosure: Default Judgement of Facfeiture,fled July 13, 2023
